                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


WILBERT L. RICHARDSON
             Plaintiff

       vs.                                          Civil Action No. 1:18-cv-00253-WES-LDA

THE CITY OF PROVIDENCE, by and through
its Treasurer, James J. Lombardi, III, alias,
EMILIO MATOS, alias, in his individual and
official capacity as a Providence Police officer,
the STATE OF RHODE ISLAND, and
JOHN DOES 1-10, individually and in their
official capacities,
                   Defendants


                                    DISMISSAL STIPULATION

      NOW COME the parties in the above referenced matter and hereby stipulate that Plaintiff’s
Complaint be dismissed with prejudice, no costs, no interest, no counsel fees.


Plaintiff,                                     CITY OF PROVIDENCE,
By His Attorneys,                              By its Attorney,
                                               JEFFREY DANA
/s/Shannah M. Kurland                          City Solicitor
Shannah M. Kurland
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Dated: 3rd March, 2021
